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                              U.S. MEDICAL CENTER FOR FEDERAL PRISONERS
                                         SPRINGFIELD, MISSOURI

                                            REDUCTION IN SENTENCE
                                            SPECIAL PROGRESS NOTE

HERSL, Daniel
Reg. #: 62926-037; DOB: November 5, 1969; WARD: S04
USMCFP admit date: November 2018
Predicted release date: July 2031
SPN date: September 22, 2023

This 53-year-old inmate appears eligible for compassionate release consideration for terminal medical condition.
A review of the inmate’s medical record and current medical conditions was conducted, and summary follows.

He initially resided at this MRC (medical referral center) as work-cadre inmate, not for any medical diagnosis.
In 2019 and beyond, complaints of LBP (low back pain) and hip pain led to plain-film, CT, and MR imaging which
showed age-appropriate, mild DJD (degenerative joint disease) and DDD (degenerative disc disease).
In May 2022 BPH (benign prostate hyperplasia) symptoms led to trial of Flomax to improve urination. He had
also developed signs/symptoms of left inguinal hernia.
September CT of Pelvis was done that showed mild, left inguinal, fat-containing hernia (matching exam and
complaint) and mild prostatomegaly. PSA (prostate specific antigen) was checked and was mildly elevated at 8.3,
so contract Urologist was consulted. (Contract specifies that each consult should occur within 90 days of request.)
December Urologist evaluation included recheck of PSA. Progression from 8 to 25 led to biopsy order. First-
available procedure date was February.
February 2023 needle biopsy confirmed cancer in 12 cores with Gleason score of 8 so CT/Bone-scan was
requested. In-house CT showed stable enlarged prostate and inguinal hernia. 1st-available bone-scan was April.
April Bone-Scan was negative for signs of metastatic disease.
May Urology follow-up with (non-operative) Urologist led to new consult with operative partner.
(June Colonoscopy for positive colon screen (fecal occult blood test) resulted in benign polypectomy.)
(June CT for hernia follow-up was again stable. PT (physical therapy) was consulted for recurrent right sciatica.)
June Urology consult included request for Pylarify PET (positron emission tomography) scan with advice for
robotic prostatectomy if negative for signs of metastatic disease. 1st-available PET scan was August.
August Pylarify PET had evidence of metastasis to lymph nodes, liver, both lungs, one rib, and upper sacrum.
August Urology follow-up advice was immediate dose of Lupron injection (done in office) and start of Casodex
and Oncology consult for metastatic prostate cancer. Surgery was not recommended (and general surgery
consult for inguinal hernia evaluation was deferred.
August labs also showed dehydrational AKI (acute kidney injury). Mr. Hersl admitted to routine use of Motrin with
poor fluid intake. Kidney function began to normalize with cessation of Motrin and improved hydration.
September Oncology consult physician indicated that this cancer would likely be terminal, and treatment advice
included recommendation to replace Casodex with Apalutamide and consideration of medication to lower future
risk for pathological bone fracture, and, finally, Radiation Oncology consult to discuss palliative options for bone
pain if/when needed (that consult is presently still pending).

He has no problems with activities of daily living. Current treatment is not likely curative, so treatment is palliative
(and marginally life-extending). Average life-expectancy prediction is less than 18 months.


         ___                              22 Sep 2023
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Scott R. Moose, MD                         Date Signed
Medical Officer




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